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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                                                CIVIL ACTION

VERSUS                                                               NO. 12-859

MARLIN GUSMAN, ET AL.                                                SECTION I


                                         ORDER

         This Court is in receipt of objections filed by the City of New Orleans to the

U.S. Magistrate Judge’s Report and Recommendation. 1 In view of the upcoming

holidays,

         IT IS ORDERED that plaintiffs class, the U.S. Department of Justice, and

Sheriff Gusman file a response to said objections on or before January 8, 2021.

         New Orleans, Louisiana, December 22, 2020.




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                                                LANCE M. AFRICK
                                          UNITED STATES DISTRICT JUDGE




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    Rec. Doc. 1389.
